                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                v.                            )
                                              )       3:12 CR 00159
CHAD EDWARD WARRICK,                          )       Judge Marvin E. Aspen
ANGELA CAMARDA, and                           )
CYNTHIA FAYE HEINZ,                           )
                                              )
                Defendants.                   )

                                             ORDER

         As discussed in open court today, Defendants shall be sentenced, in three separate

hearings, on December 8, 2014 in Courtroom 783. On that date, Mr. Warrick’s sentencing

hearing will take place at 9:00 a.m., Ms. Heinz’s sentencing hearing will take place at 10:00 a.m.,

and Ms. Camarda’s sentencing hearing will take place at 11:00 a.m.



                                                      SO ORDERED:



                                                      Marvin E. Aspen
                                                      United States District Judge




Dated:          September 3, 2014
                Nashville, Tennessee




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